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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION
                                                                                          FE3 15 2011

                                                                                   CLERK. U.S. DISTRICT COURT
                                                                                         RICHMOND. VA
UNITED STATES OF AMERICA,


                      Plaintiff


V.
                                                                    CASE NO. 3:10CR248



DAVID C. WHITE,



                      Defendant.



           REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the

hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge

make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.


       The Court accepted the Defendant's waiver of his right to proceed by indictment after

specific inquiry was made of the Defendant as to his understanding of the right to require

prosecution by indictment. The Defendant pled guilty to Count 1 of the Criminal Information in

open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and
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statements made by the Defendant under oath, on the record, and based upon the written plea

agreement and statement of facts presented, the court makes the following findings:

       1. That the Defendant is competent to enter a plea of guilty;

       2. That the Defendant understands the nature of the charge against him to which his plea

             is offered;

       3.    That the Defendant understands what the maximum possible penalties are upon

             conviction of the offense charged, including any mandatory minimum periods               of

             confinement, the effect of any required term of supervised release, the loss of

             various civil rights (if applicable, including the right to vote, the right to hold

             public office, the right to own and possess a firearm), the possibility of adverse

             immigration consequences (if applicable), the required imposition of a special

             assessment, forfeiture of real and/or personal property (if applicable), and

             restitution (if applicable);


       4.    That the sentencing court has jurisdiction and authority to impose any sentence within

             the statutory maximums provided, but that the court will determine the defendant's


             actual sentence in accordance with 18 U.S.C. § 3553(a) and that the court, after

             considering the factors set forth in 18 U.S.C. § 3553(a), may impose a sentence above


             or below the advisory sentencing range, subject only to review by higher courts for


             reasonableness;


        5.   That the Defendant understands his right to persist in a plea of not guilty and require

             that the matter proceed to trial with all the rights and privileges attending a trial,

             including, but not limited to: the right to effective assistance of counsel; the right to

             use the power and processes of the court to compel the production of relevant
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            evidence on the Defendant's behalf; the right to confront and cross-examine adverse

            witnesses; the right to present relevant evidence; the right to remain silent; and the

            right to trial by jury;


       6.   That the Defendant understands that he is waiving any right to appeal


            whatever sentence is imposed by pleading guilty, even if the sentence is

            erroneous, as long as said sentence does not exceed the total statutory penalties


            provided;


       7.   That the Defendant understands all provisions of the written plea agreement


            which was reviewed in essential part with the Defendant during the proceeding;


       8.   That the plea of guilty entered by the Defendant was knowingly and voluntarily


            entered and is not the result of force or intimidation of any kind; nor is it the result of


            any promises other than the representations set forth in the plea agreement; and


       9.   That the plea of guilty entered by the Defendant was knowingly and voluntarily made


            with full knowledge of the consequences and with an independent basis in fact to


            support said plea.


       Accordingly, the court accepted the Defendant's plea of guilty to Count 1 of the Criminal

Information and entered judgment of guilt on the subject charge. It is therefore the


recommendation of this court that its findings, including the acceptance of the Defendant's plea


of guilt and resulting judgment of guilt, be adopted.
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        It is so Ordered.



                                                                 /s/
                                                  Dennis W. Dohnal
                                                  United States Magistrate Judge




DaKd:      FEB15 2011


                                          NOTICE


        The Defendant is advised that he may file specific written objection to this report

and recommendation with the court within fourteen (14) days of this date. If objection is

noted, the party objecting must promptly arrange for the transaction of the relevant record

and file it forthwith with the court for its use in any review. Failure to object in accordance

with this notice, including the requirement for preparation of a transcription of the

relevant portions of the record, will constitute a waiver of any right to de novo review of the

matter and may result in adoption of the recommendation, including the finding of guilt as

entered by the magistrate judge.
